            Case 1:22-cr-00338-DLF Document 28 Filed 03/16/23 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          *

       vs.                                        *      Case No.: 22-cr-00338 DLF

TRACI ISAACS                                      *

       Defendant                                  *

********************************************
 CONSENT MOTION TO CONTINUE STATUS HEARING AND EXCLUSION
   OF TIME FROM CALCULATION UNDER THE SPEEDY TRIAL ACT

       COMES NOW, the Defendant, Traci Issacs, by and through counsel, Michael E.

Lawlor, Esq., Nicholas G. Madiou, Esq. and Brennan, McKenna, & Lawlor, Chtd., and

hereby moves this Honorable Court to continue the status hearing currently scheduled for

Tuesday, March 21, 2023 at 11:30 a.m., and exclude certain time from the Speedy Trial

Act calculation in this case. In support of this Motion, counsel states the following:

       1.      Per prior Order of the Court, Ms. Isaacs is scheduled to appear before this

Honorable Court on Tuesday, March 21, 2023 and 11:30m a.m. for a status hearing in the

above-referenced case.

       2.      Undersigned counsel respectfully asks that the status hearing scheduled for

Tuesday, March 21, 2023 be vacated and that this case be set in for a rearrangement

hearing.

       3.      The parties have reached a plea agreement in this matter and the signed plea

has been sent to Chambers.



                                             1
           Case 1:22-cr-00338-DLF Document 28 Filed 03/16/23 Page 2 of 3




      4.      Counsel asks that the status hearing scheduled for Tuesday, March 21, 2023

be vacated and that this case be set in for a rearrangement hearing on Friday, April 21,

2023. This proposed date has been precleared with Chambers and the parties.

      5.      Undersigned counsel has discussed this request with Ms. Isaacs, and is

authorized to state that she agrees with the instant request, and consents to exclusion of

time under the Speedy Trial Act.

      6.      Undersigned counsel has also contacted Assistant United States Attorney

Samuel S. Dalke, and is authorized to state that the United States does not oppose this

motion.

      WHEREFORE, for the foregoing reasons, the Defendant respectfully requests this

Honorable Court to;

      A. Vacate the status hearing scheduled for Tuesday, March 21, 2023;

      B. Set this matter in for a rearrangement hearing on Friday, April 21, 2023; and

      C. Exclude the time between March 21, 2023 and April 21 2023 from the Speedy

           Trial calculation in this case.



                                             Respectfully submitted,

                                                   /s/
March 16, 2023
                                             Michael E. Lawlor
                                             Brennan, McKenna & Lawlor, Chtd.
                                             Bar Number 459767
                                             6305 Ivy Lane, Suite 700
                                             Greenbelt, Maryland 20770
                                             301-474-0044 (telephone number)
                                             301-474-5730 (facsimile number)
                                             mlawlor@verizon.net
                                               2
         Case 1:22-cr-00338-DLF Document 28 Filed 03/16/23 Page 3 of 3




                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on March 16, 2023, a copy of the foregoing was sent via

ECF to the United States Attorney’s Office for the District of Columbia.

                                                      /s/
                                                _______________________________
                                                Michael E. Lawlor




                                            3
